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19                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
20
     UNITED STATES OF AMERICA,                    Case No.: 2:24-cr-00103-MWF
21
22                 Plaintiff,                     DEFENDANT ROGER K. VER’S EX
23                                                PARTE APPLICATION TO EXCEED
            vs.                                   WORD LIMITS
24
25   ROGER K. VER,                                Judge: Hon. Michael W. Fitzgerald
                                                  Date Filed: December 3, 2024
26                 Defendant.
27
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      DEFENDANT ROGER K. VER’S EX PARTE APPLICATION TO EXCEED WORD LIMITS
                                                               CASE NO. 2: 24-CR-00103-MWF
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 1            Defendant Roger K. Ver, by and through undersigned counsel, respectfully
 2   requests this Court grant this ex parte application to exceed the 7,000-word limit on
 3   pre-trial motions pursuant to L.R. 11-6.1 for Ver’s Motion to Dismiss Counts One
 4   Through Eight of the Indictment.
 5            On November 21, 2024, undersigned counsel emailed Department of Justice
 6   prosecutors Peter Anthony, James Hughes, and Matthew Kluge, conferring on
 7   Defendant’s motion to dismiss and the filing of a motion to dismiss exceeding 7,000
 8   words. In response, the government has taken the position that it objects to the filing
 9   of this brief in toto. The government requested a response date of January 6, 2024,
10   and the parties will confer to provide a proposed joint schedule for briefing on the
11   motion.
12      I.       ARGUMENT
13            On February 15, 2024, the government filed an eight-count indictment against
14   Ver. The government’s charges rely on violations of Ver’s rights; misleading,
15   selective quotations of communications presented to the grand jury; and,
16   fundamentally, on the false and anachronistic pretense that U.S. tax rules provided
17   meaningful guidance to those who, like Ver, were among the pioneers in the now-
18   mainstream cryptocurrency economy.
19            Ver seeks to submit a single, unified motion addressing each of these issues
20   succinctly. However, in order to account for the complexity of these issues and the
21   significant deficiencies that permeate all counts of the government’s case, Ver
22   respectfully requests that the Court permit a Motion to Dismiss not exceeding 10,000
23   words. Ver’s request will not unduly delay any proceedings or prejudice any party.
24      II.      CONCLUSION
25            For the foregoing reasons, Ver respectfully requests the Court grant this Ex
26   Parte Application to Exceed Word Limits for Ver’s Motion to Dismiss Counts One
27   Through Eight of the Indictment.
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                                                            CASE NO. 2: 24-CR-00103-MWF
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 2 Dated: December 3, 2024         Respectfully submitted,
 3
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